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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

UNITED STATES OF AMERICA                       §
                                               §
                                               §
VS.                                            §    CRIMINAL NO. H-06-422
                                               §
                                               §
HUGO BARRERA-CAVAZOS                           §

                                         ORDER

       Defendant filed an unopposed motion to allow withdrawal of counsel and a motion

to substitute counsel, (Docket Entry Nos. 18 and 20). The motions are GRANTED. Mike

DeGeurin and Michael DeGeurin are substituted for Roy Barrera as counsel of record.

       Defendant also filed an unopposed motion for an extension of time to file pretrial

motions and a motion for continuance, (Docket Entry Nos. 17 and 19). The court finds that

the interests of justice are served by granting the continuance and that those interests

outweigh the interests of the public and the defendants in a speedy trial. The motions for

extension of time and for continuance are GRANTED. The docket control order is amended

as follows:

       Motions must be filed by:                         March 26, 2007
       Responses must be filed by:                       April 13, 2007
       The pretrial conference is reset to:              April 23, 2007, at 8:45 a.m.
       The jury trial and selection are reset to:        April 30, 2007, at 9:00 a.m.


              SIGNED on January 25, 2007, at Houston, Texas.

                                         ______________________________________
                                                      Lee H. Rosenthal
                                                 United States District Judge
